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IN THE UNITED STATES DISTRICT COURT x
FOR THE WESTERN DISTRICT OF TENNESSEE 21 " LF/
EASTERN DIVISION ’

 

DAVID BOLING,

Plaintiff,

NO. 05-1 129-T-An

GIBSON COUNTY, GIBSON COUNTY
SHERIFF’S DEPARTMENT, JOSEPH
SHEPHERD, SHERIFF OF GIBSON
COUNTY, CITY OF MEDINA, CITY OF
MEDINA POLICE DEPARTMENT, JAMES
BAKER, CHIEF OF POLICE OF MEDINA,
CHAD DAVIS, INVESTIGATOR OF
MEDINA POLICE DEPARTMENT,
MADISON COUNTY, MADISON COUNTY
SHERIFF’S DEPARTMENT, DAVID L.
WOOLFORK, SHERIFF OF MADISON
COUNTY, TOMMY G. BUNTIN, DEPUTY
OF MADISON COUNTY SHERIFF’S
DEPARTMENT, AND JOHN AND/OR
JANE DOES,

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Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART
DEFENDANT’S MOTION TO DISMISS

 

The plaintiff, David Boling, filed this action pursuant to 42 U.S.C. § 1983 against Gibson
County, the GibSOn County Sherifi`S Department, Joseph Shepherd, the Sheriff of Gibson
County, the City of Medina, the City of Medina Police Departrnent, James Baker, the Chief of

Police of Medina, Chad Davis, an investigator for the Medina Police Department, Madison

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County, the Madison County Sheriff’s Department, David L. Woolfork, the Sheriff of Madison
County, Tommy G. Buntin, a deputy of the Madison County SherifF s Department, as well as an
unnumbered and unidentified group of law enforcement personnel for the City of Medina,
Gibson County, and Madison County (“John and Jane Does”). Plaintiff asserts that his
constitutional rights under the Fourth, Fifth, Eighth, and Fourteenth Amendrnents Were violated
vvhen he was arrested and detained as the result of actions and omissions by the defendants
Plaintiff also alleges state law claims against defendants, including negligence, outrageous
conduct, false arrest, and malicious prosecution, pursuant to the Tennessee Governmental Tort
Liability Act (TGTLA), Tenn. Code Ann. § 29»20-201 et seq., invoking the court’s supplemental
jurisdiction under 28 U.S.C. § 1367. Moreover, plaintiff contends that defendants violated his
rights under Article l of the Tennessee Constitution. Before the Court is a motion on behalf of
Gibson County, the Gibson County Sheriff’s Department, Sheriff Shepherd, Madison County, the
Madison County Sheriff’s Department, Sheriff Woolfork, and Tommy G. Buntin to dismiss
plaintiffs claims. Plaintiff has filed a response to the motion to dismiss

In evaluating a motion to dismiss under Rule l2(b)(6), allegations in the complaint are
taken as true and the complaint construed liberally in favor of the party opposing the motion to
dismiss Conley v. Gibson, 355 U.S. 41, 45-46 (1957); Westlake v. Lucas, 537 F.2d 857, 858
(6th Cir. 1976). A complaint should not be dismissed unless the court determines that the
plaintiff can undoubtedly prove no set of facts in support of his claim that Would entitle him to
relief. Lillard v. Shelbv Countv Bd. of Educ., 76 F.3d 716, 724 (6th Cir. 1996) (citing Q_o_nlg,
355 U.S. at 45-46); Allard v. Weitzman (In re Delorean Motor Co.). 991 F.2d 1236, 1240 (6th

cir. 1993).

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The court’s task in a motion under Rule 12(b)(6) is not to determine Whether the plaintiff
wins on his claim; rather, the court must determine whether the plaintiff is entitled to offer
evidence to support his allegations l\/Iercado v. Kingsley Area Schools/Traverse City Public
M, 727 F. Supp. 335, 338 (W.D. Mich. 1989) (citing Scheuer v. Rhodes, 416 U.S. 232, 236
(1974)). Thus, complaints that “set forth enough information to outline the elements of a claim or
to permit inferences to be drawn that these elements exist” state a claim sufficient to avoid
dismissal ld_. (citing Jenkins v. McKeithen, 395 U.S. 411 (1969)).

The defendants first ask dismissal of all claims against the Gibson County Sheriff’ s
Department and Madison County Sheriff` s Department because they are not proper parties
Plaintiff contends that this court should follow Kennibrew v. Russell, 578 F. Supp. 164 (E.D.
Tenn. 1983), denying the defendants’ motion to dismiss the Knox County Sheriff’s Department
as an unsuable entity. However, the Sixth Circuit has held that police departments are not legal
entities which may be sued. § Matthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994).
Therefore, the court GRANTS the motion to dismiss the sheriff’s departments as defendants

Second, the defendants seek dismissal of the state constitutional claims The defendants
correctly point out that Tennessee does not recognize an implied private cause of action for
alleged violations of the Tennessee Constitution. E Cline v. Rogers, 87 F.3d 176, 179 (6th Cir.
1996); Woolev v. l\/ladison Countv, Tennessee, 209 F. Supp. 2d 836, 844 (W.D. Tenn. 2002);
Bowden Bldg. Co;p. v. Tennessee Real Estate Comm’n, 15 S.W.3d 434, 446 (Tenn. Ct. App.
1999). Accordingly, the court GRANTS the motion to dismiss plaintiffs state constitutional
claim. This ruling applies equally to the state constitutional claim against defendants City of

Medina, City of Medina Police Department, James Baker, Chad Davis, and John and lane Does.

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Third, defendants contend, and plaintiff concedes, that the punitive damages claims
against Gibson County, Sheriff Shepherd, Madison County, Sheriff Woolfork, and Deputy
Buntin in his official capacity should be dismissed Punitive damages cannot be recovered from
municipalities or municipal officers acting in their official capacities in a § 1983 claim. § Q_ity
of Newnort v. Fact Concerts, Inc.. 453 U.S. 247, 263-65 (1981) (finding that the legislative
history for § 1983 and common law both support municipal immunity from punitive damages).
Thus, the court GRANTS defendants’ motion to dismiss plaintiffs punitive damages claims
against Gibson County, Sheriff Shepherd, Madison County, Sheriff Woolfork, and Tommy
Buntin in his official capacity This ruling also applies to the punitive damages claims against
defendants City of Medina, City of Medina Police Department, J ames Baker, Chad Davis, and
John and lane Does in their official capacities However, this ruling does not dismiss the punitive
damages claims against Tommy Buntin, Chad Davis, or John and lane Does in their individual
capacities

Fourth, defendants seek dismissal of plaintiffs federal constitutional claims, contending
that plaintiff has failed to state a claim by pleading any constitutional violations As already
noted, this court’s task on a motion to dismiss is not to determine whether or not the plaintiff will
win, but to decide Whether or not plaintiff is entitled to offer evidence supporting his claims In
his complaint, plaintiff pled violations of the Fourth, Fifth, Eighth, and Fourteenth Amendments
and “set forth enough information to” at least “permit inferences to be drawn that [the] elements
[of a claim] exist.” Mercado, 727 F. Supp. at 338 (citing Jenkins v. McKeithen, 395 U.S. 41 1

(1969)). Therefore, this court finds plaintiffs federal constitutional claims sufficient to survive

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dismissal. Accordingly, defendants’ motion to dismiss the federal constitutional claims is
DENIED.

Finally, defendants ask this court to dismiss plaintiffs state law claims of negligence,
outrageous conduct, false arrest, and malicious prosecution because under the TGTLA, the
circuit courts of Tennessee have exclusive jurisdiction over such claims Plaintiff s § 1983
claims would ordinarily confer supplemental jurisdiction over the TGTLA claims because they
arise out of the same facts and form part of the same case or controversy w 28 U.S.C.

§ 1367(a). However, TGTLA claims must be brought in “strict compliance” with the terms of the
Act. Tenn. Code Ann. § 29-20-201(0). The TGTLA gives the state circuit courts exclusive
original jurisdiction over claims brought pursuant to its provisions Id. at § 29-20-307.

ln Beddingfield v. Citv of Pulaski, 666 F. Supp. 1064 (M.D. Tenn. 1987), rev’d on other
grounds 861 F.2d 968 (6th Cir. 1988), the district court held that the Act’s exclusive grant of
jurisdiction to the state circuit courts precluded the federal court’S exercise of supplemental
jurisdiction over TGTLA claims The court reasoned that when such supplemental state law
claims involve neither federal law nor federal diversity jurisdiction, no Supremacy Clause
interests are implicated Therefore, federal courts would appear obligated to apply the TGTLA
limitations on suability as a matter of state substantive law. E Fromuth v. Metropolitan Gov’t
ofNashville, 158 F. Supp. 2d 787, 798 (M.D. Tenn. 2001); c_f_ Timberlake v. Benton, 786 F.
Supp. 676, 696-97 (M.D. Tenn. 1992) (dismissing City and officers in their official capacities
pursuant to Beddingfield but declining to apply the holding to the officers in their individual

capacities).

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ln addition, a federal district court may, in its discretion, decline supplemental jurisdiction
over a state law claim, even if jurisdiction would otherwise be proper under 28 U.S.C. § 1367(a).
Section 1367(0)(4) allows a district court to “decline to exercise supplemental jurisdiction over a
claim under subsection (a) if . . . (4) in exceptional circumstances, there are other compelling
reasons for declining jurisdiction.” Plaintiff argues, however, that the Court should follow
Malone v. Favette Countv. 86 F. Supp. 2d 797 (W.D. Tenn. 2000), in which it was held that the
exclusivity provisions of the TGTLA are not sufficient reason to decline jurisdiction under
§ 1367(0). However, the Court of Appeals for the Sixth Circuit has held otherwise

1n Gregorv v. Shelbv Countv. Tenn., 220 F.3d 433 (6th Cir. 2000), the Court of Appeals
affirmed the district court’s dismissal of the TGTLA claims, stating, “[i]n this instance, the
Tennessee legislature expressed a clear preference that TGTLA claims be handled by its own
state courts This unequivocal preference of the Tennessee legislature is an exceptional
circumstance for declining jurisdiction.” Ll_; at 446. E ali Maxwell v. Conn, No. 89-5060,
1990 WL 2774 (6th Cir. Jan. 18, 1990) (TGTLA’s grant of exclusive jurisdiction to the state
courts “belied” plaintiffs argument that he could expect to try the TGTLA claims in the same
proceeding as his federal claims); Spurlock v. Whitley, 971 F. Supp. 1166, 1185 (M.D. Tenn.
1997)

This court has accepted supplemental jurisdiction over TGTLA claims only in the very
limited situation where an action is timely filed by the plaintiff in state court, but is then removed
to this court by the defendants and the plaintiffs statute of limitations has run so that the claims
cannot be refiled in state court. w Davis v. Hardin Coun'gg, #99-1218 (W.D. Tenn. Oct. 23,

2001) (granting a motion to reconsider and reinstating TGTLA claims). This case, however, was

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not filed by the plaintiff in state court, but was filed in this court as an original action. Under
these circumstances the court declines to accept supplemental jurisdiction over the plaintiffs
state law claims This ruling applies equally to the TGTLA claims against defendants City of
Medina, City of Medina Police Department, James Baker, Chad Davis, and John and lane Does
In conclusion, the defendants’ motion to dismiss is GRANTED as to the defendants
Madison County Sheriffs Department and Gibson County Sheriff s Department, the state
constitutional claims asserted against all defendants and the punitive damages claim against all
defendants except Tommy Buntin, Chad Davis, and lane and John Does in their individual
capacities The TGTLA claims against all defendants are DISMISSED pursuant to 28 U.S.C.
§ 1367(c)(4). The motion to dismiss is DENIED as to the federal constitutional claims against
remaining defendants

lT IS SO ORDERED.

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J ES D. TODD
ITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 22 in
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Honorable .l ames Todd
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